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November 19, 2018

via ECF filing
Honorable Joanne Seybert
U.S. District Court, Eastern New York
100 Federal Plaza
Central Islip, New York 11722

       Re:      U.S.A. v. BENEGAS ET AL.
                17cr00577

Dear Judge Seybert:

       As you may be aware, this firm represents Defendant Tarciscio Ferreira with regard to
the above captioned matter. This matter is currently scheduled for sentencing on Friday,
December 7, 2018. With consent of Mr. Charles Kelley, US Attorney, we are respectfully
requesting an adjournment to March 15, 2019 at 11:30am.

       Thank you very much.

                                                     Very truly yours,
                                                     Charles M. Moriarty
                                                     CHARLES M. MORIARTY
CMM/mg
Cc: Charles Kelley, US Attorney
